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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



 GRACE ESTABROOK,
 ELLEN HOLMQUIST, and
 MARGOT KACZOROWSKI,

                              Plaintiffs,

               v.

 THE IVY LEAGUE COUNCIL OF                             Case No. 1:25-cv-10281-WGY
 PRESIDENTS, PRESIDENT AND                             ORAL ARGUMENT REQUESTED
 FELLOWS OF HARVARD COLLEGE,
 TRUSTEES OF THE UNIVERSITY OF
 PENNSYLVANIA,
 and NATIONAL COLLEGIATE
 ATHLETIC ASSOCIATION,

                              Defendants.


       DEFENDANT PRESIDENT AND FELLOWS OF HARVARD COLLEGE’S
                  MOTION TO DISMISS THE COMPLAINT

       Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendant President

and Fellows of Harvard College hereby moves this Court to dismiss the Complaint (Dkt. No. 1)

filed by Plaintiffs Grace Estabrook, Ellen Holmquist, and Margot Kaczorowski with prejudice.

The grounds for this motion are set forth in Defendant’s memorandum of law submitted

herewith.
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Dated: April 21, 2025                           Respectfully submitted,

                                                PRESIDENT AND FELLOWS OF
                                                HARVARD COLLEGE

                                                By its attorneys,

                                                /s/ Anton Metlitsky
      Victoria L. Steinberg (BBO #666482)       Anton Metlitsky (admitted pro hac vice)
      Kristine C. Oren (BBO #705730)            Jennifer B. Sokoler (admitted pro hac vice)
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                              REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 7.1(d), Defendant respectfully requests oral argument on this

motion on the grounds that such oral argument may assist the Court in its consideration of the

issues presented in this Motion.

                                                                 /s/ Anton Metlitsky
                                                                 Anton Metlitsky


                              LOCAL RULE 7.1 CERTIFICATION

        The undersigned counsel hereby certifies that counsel for Defendant has conferred with

counsel for Plaintiffs in a good faith attempt to resolve or narrow the issues in this Motion.

Plaintiffs did not assent to the relief sought in this Motion.

                                                                 /s/ Anton Metlitsky
                                                                 Anton Metlitsky


                                   CERTIFICATE OF SERVICE

        I, Anton Metlitsky, hereby certify that on April 21, 2025, I electronically filed the

foregoing Motion to Dismiss the Complaint using the CM/ECF system, which will send

notification of such filing to all registered participants.


                                                                 /s/ Anton Metlitsky
                                                                 Anton Metlitsky

Dated: April 21, 2025




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